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Jeff P. Prostok
State Bar No. 16352500
Lynda L. Lankford
State Bar No. 11935020
Dylan T.F. Ross
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FORSHEY & PROSTOK, L.L.P.
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dross@forsheyprostok.com

ATTORNEYS FOR THE DEBTORS
AND DEBTORS-IN-POSSESSION

                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION
_____________________________________
In re:                                §       Chapter 11
                                      §
NGV GLOBAL GROUP, INC., et al.,1      §       Case No. 22-42780-MXM-11
                                      §
            Debtors.                  §       (Jointly Administered)
                                      §
____________________________________ §

            DEBTORS’ MOTION PURSUANT TO FED. R. BANKR. P. 4001(d)
           FOR ENTRY OF ORDER AUTHORIZING ADEQUATE PROTECTION
                PAYMENTS TO FIRSTCAPITAL BANK OF TEXAS N.A.

         NO HEARING WILL BE CONDUCTED HEREON UNLESS A WRITTEN
         RESPONSE IS FILED WITH THE CLERK OF THE UNITED STATES
         BANKRUPTCY COURT AT 501 WEST 10TH STREET, ROOM 147, FORT
         WORTH, TEXAS 76102-3643 BEFORE CLOSE OF BUSINESS ON APRIL 5,
         2023, WHICH IS AT LEAST FOURTEEN (14) DAYS FROM THE DATE OF
         SERVICE HEREOF.

         ANY RESPONSE MUST BE IN WRITING AND FILED WITH THE CLERK, AND
         A COPY SHALL BE SERVED UPON COUNSEL FOR THE MOVING PARTY
         PRIOR TO THE DATE AND TIME SET FORTH HEREIN. IF A RESPONSE IS
         FILED, A HEARING MAY BE HELD WITH NOTICE ONLY TO THE OBJECTING
         PARTY.

         IF NO HEARING ON SUCH MOTION IS TIMELY REQUESTED, THE RELIEF
         REQUESTED SHALL BE DEEMED TO BE UNOPPOSED, AND THE COURT


1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are: NGV Global Group, Inc. (9723), Natural Gas Vehicles Texas, Inc. (8676), Natural Gas Supply, LLC
(4584) and Natural Gas Logistics Inc. (5403).

Motion for Entry of Adequate Protection Order                                                          Page 1 of 5
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        MAY ENTER AN ORDER GRANTING THE RELIEF SOUGHT OR THE NOTICED
        ACTION MAY BE TAKEN.

TO THE HONORABLE MARK X. MULLIN, UNITED STATES BANKRUPTCY JUDGE:

        NGV Global Group, Inc. (“NGV Global”), Natural Gas Vehicles Texas, Inc. (“NGV

Texas”), Natural Gas Supply, LLC (“NGS”), and Natural Gas Logistics Inc. (“NGL”, and

collectively with NGV Global, NGV Texas, and NGS, the “Debtors”), as debtors and debtors-in-

possession, files this Motion for entry of an order authorizing the Debtors to make adequate

protection payments to FirstCapital Bank of Texas, N.A. (the “Motion”) and, in support thereof,

respectfully state as follows:

                                       JURISDICTION AND VENUE

        1.       This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157

and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper before

this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                                BACKGROUND

A.      Procedural Background

        2.       On November 17, 2022 (the “Petition Date”), the Debtors filed voluntary petitions

for relief under Chapter 11 of the Bankruptcy Code.

        3.       The Debtors continue to manage and operate their businesses as debtors in

possession pursuant to sections 1107 and 1108 of the Bankruptcy Code. No trustee, examiner,

or committee has been appointed in these cases.

        4.       On November 22, 2022, the Court entered its Order Pursuant to Rule 1015(b) of

the Federal Rules of Bankruptcy Procedure Directing Joint Administration of Chapter 11 Cases

[Docket No. 28] requiring all orders, pleadings, papers, and documents to be filed in the NGV

Global chapter 11 case and establishing case no. 22-42780-11-mxm as the lead case in these

matters.




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B.       Secured Claims of FirstCapital Bank2

         5.       NGV Texas is obligated to FirstCapital Bank of Texas, N.A. (“FCB” or the “Bank”)

pursuant to that certain Promissory Note dated June 21, 2019 in the original principal amount of

$5,500,000 (as renewed, modified, amended or extended, the “First FCB Note”). The

obligations under the First FCB Note are secured by a blanket lien in all assets of NGV Texas

as provided by that certain Security Agreement between FCB and NGV Texas dated June 21,

2019. The First FCB Note is guaranteed by NGS pursuant to a Guaranty Agreement, which is

secured by certain NGS inventory pursuant to a Security Agreement between FCB and NGS.

As of the Petition Date, NGV Texas was indebted to FCB pursuant to the First FCB Note in the

approximate amount of $884,024.

         6.       NGS is obligated to FCB pursuant to that certain Promissory Note dated

February 5, 2020 in the original principal amount of $1,000,000 (as renewed, modified,

amended or extended, the “Second FCB Note”). The obligations under the Second FCB Note

are secured by a lien interest in certain equipment of NGV Texas as provided by that certain

Security Agreement between FCB and NGS dated February 21, 2020. The Second FCB Note

is guaranteed by NGV Texas pursuant to a Guaranty Agreement dated February 21, 2020. As

of the Petition Date, NGS Texas was indebted to FCB pursuant to the Second FCB Note in the

approximate amount of $522,000.

         7.       NGS is obligated to FCB pursuant to that certain Promissory Note dated May 28,

2020 in the principal amount of $3,925,000 (as renewed, modified, amended or extended, the

“Third FCB Note”). The obligations under the Third FCB Note are secured by a blanket lien in

all personal property of NGS as provided by that certain Security Agreement between FCB and

NGS dated May 28, 2020. NGV Global, NGV Texas and NGL are obligated to FCB as

guarantors of the Third FCB Note, and other indebtedness of NGS, pursuant to separate


2 The Debtors are coordinating with the Bank on the assembly of all applicable loan documents, collateral lists and
claim amounts and, accordingly, the recitation of loans, collateral and claim amounts herein is subject to revision.

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Guaranty Agreements, and each Guaranty Agreement is secured by blanket liens on the

guarantors’ personal property pursuant to a Security Agreement with FCB dated May 28, 2020.

As of the Petition Date, NGS was indebted to FCB pursuant to the Third FCB Note in the

approximate amount of $2,280,821.

        8.       NGS is obligated to FCB pursuant to that certain Promissory Note in the original

principal amount of $1,387,752.91 (as renewed, modified, amended or extended, the “Fourth

FCB Note”). As of the Petition Date, NGS was indebted to FCB pursuant to the Fourth FCB

Note in the approximate amount of $996,609.

        9.       NGV Global is obligated to FCB pursuant to that certain Promissory Note dated

September 30, 2021, in the original principal amount of $1,870,760 (as renewed, modified,

amended or extended, the “Fifth FCB Note”, and together with the First FCB Note, the Second

FCB Note, the Third FCB Note, the “FCB Notes”). The obligations under the Fifth FCB Note are

secured by a blanket lien in all personal property of NGV Global as provided in that certain

Security Agreement between FCB and NGV Global dated September 30, 2021. As of the

Petition Date, NGV Global was indebted to FCB pursuant to the Fifth FCB Note in the

approximate amount of $1,661,633.

        10.      As provided above and in the relevant loan documents, the FCB Notes are

secured by various assets of the Debtors (the “FCB Prepetition Collateral”), including as

applicable, the Debtors’ cash and cash equivalents.

                                           RELIEF REQUESTED

        11.      By this Motion, the Debtors seek the entry of the Agreed Order Pursuant to

Federal Rule of Bankruptcy Procedure 4001(d) Providing Adequate Protection to FirstCapital

Bank of Texas, N.A. attached hereto as Exhibit “A” (the “Agreed Order”), pursuant to sections

361 and 362 of the Bankruptcy Code and Rule 4001(d) of the Federal Rules of Bankruptcy

Procedure, to allow for the payment of monthly adequate protection payments to FCB for the

continued use of the Bank’s Collateral.

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            12.          The Agreed Order provides that the Debtors shall be authorized to provide to the

Bank monthly adequate protection payments in the amount of $15,000 (the “Adequate

Protection Payment”), to be applied against the Bank’s indebtedness as provided in the Agreed

Order.

            13.          The Debtors believe that the Agreed Order is fair and in the best interests of their

estates and request that it be entered by the Court.

                                                                     CONCLUSION

            WHEREFORE, the Debtors respectfully request that the Court enter the Agreed Order,

attached hereto as Exhibit “A”, and grant such other and further relief to the Debtors as is just

and proper.

Dated: March 22, 2023.                                                      /s/ Lynda L. Lankford
                                                                            Jeff P. Prostok
                                                                            State Bar No. 16352500
                                                                            Lynda L. Lankford
                                                                            State Bar No. 11935020
                                                                            Dylan T.F. Ross
                                                                            State Bar No. 24104435
                                                                            FORSHEY & PROSTOK, L.L.P.
                                                                            777 Main Street, Suite 1550
                                                                            Fort Worth, Texas 76102
                                                                            Phone: (817) 877-8855
                                                                            Fax: (817) 877-4151
                                                                            jprostok@forsheyprostok.com
                                                                            llankford@forsheyprostok.com
                                                                            dross@forsheyprostok.com


                                                         CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing document was
served via ECF Electronic Notice, where available, and via first class mail on the parties listed
on the attached Limited Service List on this 22nd day of March, 2023.

                                                                                         /s/ Lynda L. Lankford
                                                                                         Lynda L. Lankford


L:\JPROSTOK\Natural Gas Logistics, Inc. (NGV Global) #6321 WO\Pleadings\Motion for Entry of Adequate Protection Order with FCB 3.21.23.docx




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Limited Service List                  NGV Global Group, Inc., et al.         Erin Schmidt, Trial Attorney
NGV Global, et al.                    Attn: Farroukh Zaidi, CEO              Office of the U.S. Trustee
#6321                                 10733 Spangler Road                    1100 Commerce St., Room 976
                                      Dallas, TX 75220                       Dallas, TX 75202


FirstCapital Bank of Texas, N.A.      Tom McLeod Software Corp.              Ford Motor Credit Company, LLC
5580 LBJ Freeway, Suite 100           100 Corporate Parkway, Suite 100       PO Box 680020, MD 610
Dallas, TX 75240                      Birmingham, AL 35242                   Franklin, TN 37068



Maplemark Bank                        Bank of DeSoto, NA                     Mike Albert, Ltd.
4143 Maple Ave., Suite 100            PO Box 7777                            10340 Evendale Dr.
Dallas, TX 75219                      DeSoto, TX 75123                       Cincinnati, OH 45241



Simmons Bank                          Tristate Capital Bank                  Vision Financial Group, Inc.
4625 S National Ave.                  One Oxford Centre                      615 Iron City Drive
Springfield, MO 65810                 301 Grant St., Suite 2700              Pittsburgh, PA 15205
                                      Pittsburgh, PA 15219


Internal Revenue Service              AmeriCredit Financial Services, Inc.   Ford Motor Credit Company LLC
Centralized Insolvency Operations     dba GM Finance                         c/o National Bankruptcy Service Center
PO Box 21126                          PO Box 183853                          P.O. Box 62180
Philadelphia, PA 19114-0326           Arlington, TX 76096                    Colorado Springs, CO 80962-2180




                                        NGV Global Group, Inc.
                                    20 Largest Unsecured Creditors

Addison Group                         AFCO                                   ANGI
7076 Solutions Center                 5600 North River Rd.                   PO Box 516
Chicago, IL 60677-7000                Suite 400                              Janeville, WI 53547-5216
                                      Rosemont, IL 60018-5187


Bridgestone                           Cesar Torres                           Champions Pumping LLC
PO Box 730026                         2326 West Lovers Lane                  2351 W Northwest Hwy
Dallas, TX 75373-0026                 Dallas, TX 75235                       Suite 3358
                                                                             Dallas, TX 75220


City of Dallas                        Dallas Regional Chamber                Littler Mendelson, PC
1500 Marilla 3A North                 500 N. Akard St., Suite 2600           PO Box 207137
Dallas, TX 75201                      Dallas, TX 75201                       Dallas, TX 75320-7137



Mark Conner, CPA PLLC                 Metropolitan Gate, Inc.                Mike Albert, Ltd.
PO Box 2709                           PO Box 541567                          10340 Evendale Dr.
Coppell, TX 75019                     Dallas, TX 75354                       Cincinnati, OH 45241
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OSI 10737 Spangler Road LLC            OSI 10801 Spangler Road LLC         OSI 2001 Manana Drive LLC
309 East Paces Ferry Rd. NE            309 East Paces Ferry Rd. NE         309 East Paces Ferry Road NE
Suite 59                               Suite 59                            Suite 59
Atlanta, GA 30305                      Atlanta, GA 30305                   Atlanta, GA 30305


Spectrum                               Sunwest Communications Inc.         TEKSwork
400 Atlantic St.                       4851 LBJ Freeway                    118 South 3rd St.
Stamford, CT 06901                     Dallas, TX 75224                    Williamsburg, KY 40769



The Carbon Agency                      Verizon
802 N. Kealy Ave., Suite 200           One Verizon Way
Lewisville, TX 75057-3136              Basking Ridge, NJ 07920




                                     Natural Gas Vehicles Texas, Inc.
                                     20 Largest Unsecured Creditors

1-800-Radiator & A/C                   Bridgestone Americas                Continental Tire
2626 Northhaven Road                   PO Box 730026                       1830 MacMillian Park Dr.
Dallas, TX 75229                       Dallas, TX 75247                    Fort Mill, SC 29707



Cummins                                Daltex Trailer Repair               First Capital Bank of Texas
PO Box 772642                          3124 Partridge Ct.                  5580 LBJ Freeway, Suite 100
Detroit, MI 48277-2642                 Grand Prairie, TX 75052             Dallas, TX 75240



Fleetpride Truck and Trailer Parts     Geoff Beveridge                     HYLIION
601 W Mockingbird Lane                 661 E Main St., Suite 200           1202 BMC Dr., Suite 100
Dallas, TX 75247                       Midlothian, TX 76065                Cedar Park, TX 78613



Marcel Pradella                        MI-SHER (NAPA)                      Premium Truck Group of Dallas No.
2124 Dogwood Creek Ave.                1301 W Northwest Hwy                PO Box 840827
Yukon, OK 73099                        Grapevine, TX 76051                 Dallas, TX 75284-0827



Recappers (V)                          Rush Truck Center                   Snap On
2360 East Grauwyler                    109 Cundiff Dr.                     12617 E FM917 Suite E
Irving, TX 75061                       Seagoville, TX 75159                Alvarado, TX 76009



Southern Tire Mart                     Southwest International Truck (V)   U-line
816 W Mockingbird Dr.                  3722 Irving Blvd.                   PO Box 88741
Dallas, TX 75247                       Dallas, TX 75247                    Chicago, IL 60680-1741
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Unifirst                            Valvoline
PO Box 650841                       3221 East Arkansas Lane
Dallas, TX 75265-0481               Arlington, Texas 76010




                                     Natural Gas Supply, LLC
                                  20 Largest Unsecured Creditors

Comdata                             Composites Adanced Technlogies   First Capital Bank of Texas
5301 Mayland Way, Suite 100         (CATEC)                          5580 LBJ Frwy, Suite 100
Brentwood, TN 37027                 7441 E Orem Dr.                  Dallas, TX 75240
                                    Houston, TX 77075


JOG                                 Mike Albert, Ltd.
                                    10340 Evendale Dr.
                                    Cincinnati, OH 45241-2564




                                     Natural Gas Logistics Inc.
                                  20 Largest Unsecured Creditors

Advantage Trailer Rentals           Boscus Canada Inc.               City of Dallas Utilities Dept.
PO Box 772320                       900 Avenue Selkirk               PO Box 66025
Detroit, MI 48277                   Pointe-Clair QC H9R3S3           Dallas, TX 75266



Crossroads Trailer Service Inc.     Crum & Foster                    DCLI
226 Irby Lane                       855 Winding Brook Dr.            3525 Whitehall Park Dr.
Irving, TX 75061                    Glastonbury, CT 06033            Charlotte, NC 02827



Escreen                             Hartford Financial Services      J.J. Keller
PO Box 25902                        PO Box 415738                    PO Box 6609
Overland Park, KS 66225             Boston, MD 02241-5738            Carol Stream, IL 60197



Love's                              McKinney Trailer Rentals         Mike Albert, Ltd.
7005 Highway 225                    PO Box 515574                    10340 Evendale Dr.
Deer Park, TX 77536                 Los Angeles, CA 90051            Cincinnati, OH 45241



Mike Hendrixson                     NTTA                             Penske
4819 Osprey Dr.                     PO Box 660244                    PO Box 802577
Orange Beach, AL 36561              Dallas, TX 75266                 Chicago, IL 60680
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Republic Services                          Samba Holdings Inc.                  Tenstreet LLC
8101 E. Little York Rd.                    Dept. LA 24536                       5121 S. Wheeling Ave.
Houston, TX 77016                          Pasadena, CA 91185                   Tulsa, OK 74105



TRAC Intermodal                            Waste Connections Inc.
750 College Road East                      2138 Country Lane
Princeton, NJ 08540                        McKinney, TX 75069




                                NOTICES OF APPEARANCE/PROOFS OF CLAIM


   Mike Albert, Ltd.                      Mike Albert, Ltd.                      FirstCapital Bank of Texas, N.A.
   c/o Patrick M. Lynch, Esq.             c/o Robert G. Sanker, Esq.             c/o Jared Knight, B. Hartman, C. Miller
   Quilling, Selander, et al.             Keating Muething & Klekamp PLL         Morgan Williamson LLP
   2001 Bryan St., Suite 1800             One East Fourth St., Suite 1400        701 S. Taylor, Suite 324
   Dallas, TX 75201                       Cincinnati, OH 45202                   Amarillo, TX 79101


   OSI 10801 Spangler, LLC, OSI 10737     Dallas County                          Bank of DeSoto, N.A.
   Spangler, LLC, OSI 202 Mana Dr, LLC    c/o John K. Turner                     c/o Law Office of Vicki K. McCarthy
   c/o Mark Stromberg                     Linebarger Goggan, et al.              114 South 5th Street
   Stromberg Stock PLLC                   2777 N. Stemmons Fwy, Suite 1000       Midlothian, TX 76065
   8350 N Central Expwy, Suite 1225       Dallas, TX 75207
   Dallas, TX 75206

   Mitsubishi HC Capital America, Inc.    Ford Motor Credit Company LLC          MapleMark Bank
   c/o Matthew F. Kye, Esq                c/o Stephen G. Wilcox                  c/o Trey A. Monsour
   Kye Law Group, P.C.                    Wilcox Law, PLLC                       Fox Rothschild LLP
   201 Old Country Rd, Suite 120          PO Box 201849                          2501 N. Hartwood St., Suite 1800
   Melville, NY 11747                     Arlington, TX 76006
                                                                                 Dallas, TX 75201

   DalTex Trailer Repair                  Premier Truck Group of Dallas North    Uline
   c/o Mark B. French                     c/o Marilee A. Madan, Esq.             12575 Uline Drive
   Law Office of Mark B. French           5485 Belt Line Rd., Suite 290          Pleasant Prairie, WI 53158
   1901 Central Dr., Suite 704            Dallas, TX 75254
   Bedford, TX 76021

   Fastenal Company                       Bartow B Duncan III, Esq.              Ford Motor Credit Company LLC
   Attn: Legal                            Arnall Golden Gregory LLP              c/o National Bankruptcy Service Ctr
   2001 Theurer Blvd.                     171 17th St. NW, Suite 2100            PO Box 62180
   Winona, MN 55987                       Atlanta, GA 30363                      Colorado Springs, CO 80962.


   Premier Truck Group of Dallas North    Tekswork, LLC                          Conlan Tire Co., LLC
   Hank Thompson, Corporate Controller    118 S 3rd St.                          12225 Stephens Rd.
   3040 Irving Blvd.                      Williams, KY 40769                     Warren, MI 48089
   Dallas, TX 75247



   Mi-Sher Auto Supply, Inc.              DalTex Trailer Repair                  Internal Revenue Service
   PO Box 339                             c/o Mark B. French                     PO Box 7346
   Ponder, TX 76259                       1901 Central Dr., Suite 704            Philadelphia, PA 19101-7346
                                          Bedford, TX 76021
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ZoMerSyd LLC                        Mitsubishi HC Capital America, Inc.     Tokyo Century (USA) Inc.
c/o Saied Nami                      c/o James W. King                       c/o Dennis A. Dressler
643 Conley Rd.                      Offerman & King, LLP                    Dressler & Peters, LLC
London, KY 40744                    6420 Wellington Place                   70 West Hubbard St. Suite 200
                                    Beaumont, TX 77706                      Chicago, IL 60654

Cellco Partnership d/b/a Verizon    CRG Texas Environmental Services, Inc   Spectrum
Wireless                            2504 Avenue I                           1600 Dublin Road
William M Vermette                  Rosenberg, TX 77471                     Columbus, OH 43215-1600
22001 Loudoun County PKWY
Ashburn, VA 20147
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                      Exhibit "A"
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                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                        FORT WORTH DIVISION

_____________________________________
In re:                                §                                Chapter 11
                                      §
NGV GLOBAL GROUP, INC., et al.,1      §                                Case No. 22-42780-MXM-11
                                      §
            Debtors.                  §                                (Jointly Administered)
                                      §
____________________________________ §


   AGREED ORDER PURSUANT TO FEDERAL RULE OF BANKRUPTCY PROCEDURE
4001(d) PROVIDING ADEQUATE PROTECTION TO FIRSTCAPITAL BANK OF TEXAS, N.A.

           On this day, came on for consideration the Debtors’ Motion Pursuant to Fed. R. Bankr.

P. 4001(d) for Entry of Agreed Order Providing Adequate Protection to FirstCapital Bank of

Texas, N.A. (the “Motion”)2 [Docket No. ____], of NGV Global Group, Inc. (“NGV Global”),

Natural Gas Vehicles Texas, Inc. (“NGV Texas”), Natural Gas Supply, LLC (“NGS”), and Natural

Gas Logistics Inc. (“NGL”, and collectively with NGV Global, NGV Texas, and NGS, the


1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are: NGV Global Group, Inc. (9723), Natural Gas Vehicles Texas, Inc. (8676), Natural Gas Supply, LLC
(4584) and Natural Gas Logistics Inc. (5403).
2   Capitalized terms used herein and not otherwise defined shall have the meanings ascribed to them in the Motion.


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“Debtors”), as debtors and debtors-in-possession, seeking entry of this Agreed Order to

authorize adequate protection payments to be made to FirstCapital Bank of Texas, N.A. (“FCB”

or the “Bank”) pursuant to sections 361 and 362(d) of title 11 of the United States Code (the

“Bankruptcy Code”) and Rule 4001(d) of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”). The Court finds that the Debtor and FCB have agreed to the terms of this

Agreed Order, and that proper notice has been given to all parties required by the Bankruptcy

Code and Bankruptcy Rules, that no objections to the Motion or to the Agreed Order have been

filed, and that the entry of this Agreed Order is in the best interest of the Debtors, their

bankruptcy estates and all interested parties.

       ACCORDINGLY, it is hereby ORDERED that:

       1.      The Motion is GRANTED.

       2.      The Debtors shall provide to FCB adequate protection payments in the amount of

$15,000 per month (the “Adequate Protection Payment”) beginning on April 25, 2023 and

continuing monthly thereafter on the 25th of each subsequent month until further agreement of

the Debtors and FCB or subsequent order of the Court. The Adequate Protection Payments

shall be applied to the FCB indebtedness in accordance with the applicable loan documents.

       3.      This Court shall, and hereby does, retain jurisdiction with respect to all matters

arising from or related to the implementation of this Order.

                                       ### End of Order ###




                                                  -2-
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AGREED AS TO SUBSTANCE AND FORM:


/s/ Lynda L. Lankford
Jeff P. Prostok
State Bar No. 16352500
Lynda L. Lankford
State Bar No. 11935020
Dylan T.F. Ross
State Bar No. 24104435
FORSHEY & PROSTOK, L.L.P.
777 Main Street, Suite 1550
Fort Worth, Texas 76102
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jprostok@forsheyprostok.com
llankford@forsheyprostok.com
dross@forsheyprostok.com

ATTORNEYS FOR THE DEBTORS
AND DEBTORS-IN-POSSESSION

and


/s/ C. Jared Knight
C. Jared Knight
State Bar No. 00794107
Bailey Hartman
State Bar No. 24125916
Cathy B. Miller
State Bar No. 00790317
MORGAN WILLIAMSON, L.L.P.
701 S. Taylor, Suite 324
Amarillo, TX 79101
(806) 358-8116 Telephone
(806) 350-7642 Fax
jknight@mw-law.com
bbartman@mw-law.com
cmiller@mw-law.com

ATTORNEYS FOR FIRSTCAPITAL BANK OF TEXAS, N.A.


L:\JPROSTOK\Natural Gas Logistics, Inc. (NGV Global) #6321 WO\Pleadings\Agreed Order for Adequate Protection to FCB 3.16.23.docx




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